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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    ELI LILLY AND COMPANY,

           Plaintiff,

           v.
                                                        Civil Action No. 24-3220 (DLF)
    DOROTHY FINK,1 Acting Secretary of
    Health and Human Services et al., et al.,

                   Defendants.


    BRISTOL MEYERS SQUIBB COMPANY,

                   Plaintiff,

           v.
                                                        Civil Action No. 24-3337 (DLF)
    DOROTHY FINK, Acting Secretary of Health
    and Human Services et al.,

                   Defendants.


NOVARTIS PHARMACUTICALS CORP,

                  Plaintiff,

          v.
                                                        Civil Action No. 25-0117 (DLF)
DOROTHY FINK, Acting Secretary of Health
and Human Services et al.,

                  Defendants.




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       Pursuant to Fed. R. Civ. P. 25(d), Acting Secretary Dorothy Fink automatically replaces
former Secretary Xavier Becerra as the defendant in these actions.
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                                            NOTICE

       Pursuant to the Court’s February 6, 2025 minute orders in the above captioned cases,

Defendants the Secretary of Health and Human Services and the Administrator of the Health

Resources and Services Administration respectfully submit this notice of their position regarding

consolidation.

       As suggested by the Court’s orders, Defendants believe that the Court should consolidate

Eli Lilly and Co. v. Fink, Civ. A. No. 24-3220, Bristol Meyers Squibb Co. v. Engels, Civ. A. No.

24-3337, Sanofi-Aventis U.S. Llc v. Dep’t of Health and Human Serv., Civ. A. No. 24-3496, and

Novartis Pharmaceuticals Corp., v. Fink, Civ. A. No. 25-0117 for all proceedings including “the

briefing on the motion to intervene and any future hearings on the pending motions to intervene

and dismiss.”

       In addition, Defendants note that there are two other similar cases that should also be

consolidated to the above-captioned three cases: Kalderos v. United States, Civ. A. No. 21-2608,

and Johnson & Johnson v. Fink, Civ. A. No. 24-3188.2 These cases involve the same questions of

law and fact as those cases identified in the Court’s February 6. 2025 orders. Thus, Defendants

respectfully submit that both Kalderos and Johnson & Johnson should be included in any

consolidation.

       Defendants also propose that the Court order the parties to submit a Joint Status Report one

week after the Court issues any order on consolidation to propose a uniformed briefing schedule

or any other procedures to govern the litigation of these consolidated actions.




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       Johnson & Johnson is assigned to Judge Contreras.
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Dated: February 11, 2025            Respectfully submitted,
       Washington, DC
                                    EDWARD R. MARTIN, JR., D.C. Bar #481866
                                    United States Attorney

                                    BRIAN P. HUDAK
                                    Chief, Civil Division


                                    By:           /s/ John J. Bardo
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